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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA




BARBARA DIAMOND, et. al.,
                                                   Civil Action No. 5:17-cv-5054-MMB
                  Plaintiffs,

       v.

ROBERT TORRES, et. al.,

                  Defendants.


                                STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), the parties hereby agree to

dismiss this action. By agreement of the parties, each side will bear its own costs, fees, and

expenses.




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Dated: April 9, 2018                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on April 9, 2018, I filed the foregoing with the Clerk of the Court using the

ECF System which will send notification of such filing to the registered participants as identified

on the Notice of Electronic Filing.



Date: April 9, 2018
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